                                          Case 5:20-cv-04045-LHK Document 71 Filed 11/29/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                   UNITED STATES DISTRICT COURT
                                   9
                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12     LILAS ABUELHAWA, et al.,                           Case No. 20-CV-04045-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiffs,                         JUDGMENT
                                  14             v.

                                  15     SANTA CLARA UNIVERSITY,
                                  16                    Defendant.

                                  17

                                  18          On November 29, 2021, the Court dismissed the instant action with prejudice. ECF No.

                                  19   70. Judgment is entered in favor of the defendant. The Clerk shall close the file.

                                  20   IT IS SO ORDERED.

                                  21

                                  22   Dated: November 29, 2021

                                  23                                                   ______________________________________
                                                                                       LUCY H. KOH
                                  24                                                   United States District Judge
                                  25

                                  26
                                  27

                                  28                                                    1
                                       Case No. 20-CV-04045-LHK
                                       ORDER
